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16                    UNITED STATES DISTRICT COURT
         FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
18   Skot Heckman, Luis Ponce,             Case No: 2:22-cv-00047-GW-GJS
     Jeanene Popp, and Jacob Roberts,
19
     on behalf of themselves and all       PLAINTIFFS’ MOTION TO
20   those similarly situated,             ENJOIN IMPOSING A MODIFIED
                                           ARBITRATION CLAUSE ON
21                Plaintiffs,              ANTITRUST CLAIMS IN THIS
22                                         CASE
            vs.
23
24   Live Nation Entertainment, Inc.,
     and Ticketmaster LLC,                 The Honorable George H. Wu
25
26                Defendants.
27
28
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1
                                       INTRODUCTION
2
           Plaintiffs seek relief from the Court under the All Writs Act, to prevent
3
     Defendants Live Nation and Ticketmaster from trying to disrupt the Court’s
4
     management of this case by again rewriting their Terms of Use (“Terms”) to impose a
5
     new arbitration clause covering the antitrust claims before this Court.
6
           Defendants have shown they have no qualms about unilaterally modifying the
7
     arbitration clause in their Terms to evade accrued claims. They did this in 2021, updating
8
     their Terms to require arbitration through New Era, rather than JAMS. At that time, as
9
     the Court will recall, the Court was considering another motion to compel arbitration as
10
     to highly similar antitrust claims in a prior class action, Oberstein v. Live Nation. The
11
     timing and substance of Defendants’ switch to New Era made clear they knew they faced
12
     the prospect of substantial numbers of arbitration and were willing to employ click-wrap
13
     contracting tactically to gain a procedural advantage over their consumers.
14
           Defendants’ actions prompted this second lawsuit, in which the named Plaintiffs
15
     specifically noted Defendants’ switch to New Era and why this unconscionable switch
16
     entitled them to proceed in Court. See Dkt. 1 ¶¶ 1-5. On August 10, 2023, this Court
17
     denied Defendants’ motion to compel arbitration, holding that Defendants’ switch to
18
     New Era was procedurally and substantively unconscionable. As a result, Defendants
19
     must face Plaintiffs’ proposed class action in court. But Defendants have already
20
     indicated they intend to appeal the Court’s unconscionability ruling. And Defendants
21
     will no doubt seek a stay of litigation in this Court pursuant to the Supreme Court’s
22
     recent decision in Coinbase, Inc. v. Bielski, 143 S. Ct. 1915, 1919 (2023). During that
23
     stay, they will do what they have done before: push new Terms onto their website. The
24
     new Terms will likely purport to bind anyone who purchases tickets, logs into a
25
     Ticketmaster account to retrieve prior tickets, or opens a mobile application. Defendants
26
     have already purported to apply new Terms retroactively to the antitrust claims now
27
     pending in this Court by putative class members.
28
           The “remarkable degree of coordination between Latham and New Era in terms

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1    of their interpretation and the evolution of New Era’s Rules” will presumably continue
2    while this case is stayed pending appeal. Dkt. 202 (“Arb. Order”) at 16, n.13. And New
3    Era, which tried to change its rules to affect this Court’s resolution of the motion to
4    compel, has already told reporters that it intends to further alter its rules going forward.1
5          Defendants’ and New Era’s past conduct, as well as New Era’s recent comments,
6    reinforce the likelihood that they will try to disrupt this Court’s oversight of the pending
7    class action during the appeal. Worse still, if Defendants are allowed to roll out a new
8    arbitration agreement that applies to the claims in this case, they will be able to argue
9    for an infinite loop of appeals and stays. That is, if the Ninth Circuit affirms and remands
10   in this case, Defendants can simply file a renewed motion to compel arbitration under
11   the new Terms and, if that is denied, file another appeal and request for another stay.
12   The cycle has no necessary end. The result would undermine this Court’s jurisdiction to
13   administer this case moving forward, and effectively nullify the Court’s order.
14         In particular, applying a new arbitration clause to these claims would nullify the
15   Court’s severability ruling. Applying the public policy analysis required by California
16   law, the Court determined that severance was unwarranted because “the way in which
17   Defendants effected the changes … indicates a ‘systematic effort to impose arbitration
18   on a customer as an inferior forum’ to avoid having to arbitrate consumer claims
19   individually.” Arb. Order at 29 (quoting MacClelland v. Cellco P’ship, 609 F. Supp. 3d
20   1024, 1046 (N.D. Cal. 2022)). Worse, “these efforts were by design” and the unfair
21   “effects of these unconscionable provisions were ‘entirely foreseeable and intended.’”
22   Id. (emphasis added). Severance would have rewarded Defendants’ brazen behavior,
23   encouraging them “to retain unenforceable provisions designed to chill customers’
24   vindication of their rights, then simply propose to sever these provisions in the rare event
25   that they are challenged successfully in court.” Id. (internal quotation omitted).
26         Repeatedly modifying an arbitration clause with respect to the very same claims
27   1
       https://www.reuters.com/legal/litigation/live-nation-consumer-ticket-price-lawsuit-
28   loses-bid-mass-arbitration-2023-08-11/ (stating that the Court’s order “offers a useful
     roadmap to improve our mass arbitration protocols”).

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1    is just as bad as imposing a multi-layered severability clause, as Defendants did before.
2    Defendants could accomplish the same result, trying one tactic after another to see which
3    works, furthering the same design, and intending the same result: to eliminate their
4    antitrust liability by manipulating arbitration procedures, all while demanding that
5    litigation be stayed while they pursue these tactics and appeal their rejection.
6          This Court has well-established authority under the All Writs Act to stop this sort
7    of interference with a case pending before it. That statute empowers courts to “issue all
8    writs necessary or appropriate in aid of their respective jurisdictions and agreeable to the
9    usages and principles of law.” 28 U.S.C. § 1651(a). This authority is flexible and allows
10   courts to enjoin conduct that challenges their jurisdiction by attempting to move
11   litigation to a different forum. An injunction is warranted here to protect this Court’s
12   authority over this case, since otherwise Defendants’ arbitration tactics would prevent
13   the Court from meaningfully resolving the claims alleged. An injunction is also
14   warranted to ensure the integrity of the Court’s order denying arbitration, which
15   Defendants otherwise could circumvent.
16         To be clear, Plaintiffs do not ask the Court to bar Defendants from rolling out a
17   new arbitration agreement that would apply to other disputes not before this Court. If
18   Defendants stipulate to carve out this pending dispute from any new arbitration
19   agreement, Plaintiffs will withdraw this motion. But so long as Defendants purport to
20   reserve the right to disrupt this case through a new arbitration agreement, this Court has
21   ample authority—and good reason—to enjoin Defendants from applying any future
22   arbitration clause to the accrued claims in this putative class action.
23                   FACTUAL AND PROCEDURAL BACKGROUND
24         A.     Defendants Select New Era ADR To Gain A Litigation Advantage
                  Against Antitrust Claimants.
25
           After Plaintiff Mitch Oberstein and others filed a class action antitrust suit against
26
     them, Ticketmaster and Live Nation knew thousands of other consumers had identical
27
     claims. They also knew that Keller Postman, a firm that is widely known for pursuing
28


                                                  3                 PLAINTIFFS’ MOTION TO ENJOIN
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1    large numbers of consumer claims simultaneously in arbitration, was focused on these
2    particular claims. See Dkt. 195 (Defendants’ briefing acknowledging that Keller
3    Postman “gave rise to the concept of ‘mass arbitration,’ and establish[ed] the paradigm
4    for what mass arbitration is”); Oberstein v. Live Nation Ent., Inc., No. 2:20-cv-03888,
5    Dkt. 72 (C.D. Cal., Jan. 22, 2021) (notice of appearance by Warren Postman). In
6    Oberstein, Defendants moved to compel arbitration before JAMS, but before the Court
7    had even ruled on their motion, they searched out alternatives. Arb. Order at 3.
8          Defendants settled on New Era ADR, a company that “had not yet conducted any
9    arbitrations and had not finalized its Rules,” but promised to serve as a “critical
10   prophylactic measure for client’s mass arbitration risk.” Id. at 3, 21. After weeks of
11   negotiation, Defendants signed on as New Era’s first subscriber, and within a day New
12   Era published its arbitration rules. Id. at 3. Cognizant that New Era’s rules might be
13   found too aggressively favorable for a court to enforce, Defendants also vetted a “backup
14   arbitration provider,” which was “another relatively new arbitration provider.” Id. at 29.
15   With the groundwork set, they quietly pushed an update to their Terms, which
16   retroactively governed “ANY DISPUTE … IRRESPECTIVE OF WHEN THAT
17   DISPUTE … AROSE.” Id. at 11 (quoting TOU at 10). The goal was to force all potential
18   antitrust claimants who “merely … opened Defendants’ website” to arbitrate using New
19   Era. Id.
20         This behavior was far from ordinary litigation planning; it was blatantly
21   unconscionable, and intentionally so:
22         the manner in which Defendants imposed the changes to their TOU evinces
           an extreme amount of procedural unconscionability far above and beyond
23
           a run-of-the-mill contract-of-adhesion case. Specifically, the TOU were
24         amended: (1) to bring about a significant change in the parties’ agreement
           (from individual, bilateral arbitration to mass arbitration); (2) unilaterally;
25
           (3) in the midst of ongoing litigation; (4) to be applied retroactively to
26         already accrued claims; (5) without giving any notice to existing customers
           about this major change; and (6) while burying the true nature of this
27
           change in New Era’s difficult-to-parse Rules.
28
     Id. at 9-10. Forcing the arbitration provision on consumers was only half of the plan.

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1    The other half was using arbitration procedures that favored Defendants:
2          the TOU and New Era’s Rules contain several elements supporting a
           finding of substantive unconscionability, specifically: (1) the mass
3
           arbitration protocol including the application of precedent from the
4          bellwether decisions to other claimants plus the lack of corresponding
           procedural safeguards; (2) the lack of a right to discovery and other
5
           procedural limitations; (3) the arbitrator selection provisions; and (4) the
6          limited right of appeal.
7    Id. at 27. New Era’s procedures were especially hostile to antitrust claims such as those
8    the Oberstein plaintiffs had already brought, because those claims “are notoriously
9    complex and fact-intensive” requiring “extensive discovery,” briefing, and so forth to
10   prove a prima facie case—none of which New Era allowed. Id. at 23, n.19.
11         B.     Defendants and New Era Work Together During Briefing On The
                  Motion to Compel.
12
           During the briefing, Defendants and New Era worked together against Plaintiffs.
13
     They both at first professed one view of the rules (for example, that precedent bound
14
     those who had not yet filed a claim), but jointly shifted positions after this Court’s
15
     tentative ruling. E.g., Arb. Order at 20 (“[B]oth Defendants and New Era have
16
     contradicted their prior representations about what the Rules actually mean.”); id. at
17
     17, n.14 (“New Era changed its Rules specifically in response to the Court’s concerns in
18
     this litigation.”). There were “joint defense efforts between Latham and New Era in
19
     connection with th[e] Motion” to compel, culminating in “a remarkable degree of
20
     coordination between Latham and New Era in terms of their interpretation and the
21
     evolution of New Era’s Rules.” Id. at 16, n.13. Indeed, New Era weighed in with rule
22
     changes during briefing on the motion to compel not once, but twice. See Dkt. 163 &
23
     192. The Court rightfully gave little weight to the revised rules, because
24
     “unconscionability of a contract or a contract clause is determined based on the law and
25
     facts at the time of the agreement.” Id. at 17, n.14 (quoting Yerkovich v. MCA, Inc., 11
26
     F. Supp. 2d 1167, 1173 (C.D. Cal. 1997)).
27
28


                                                 5                PLAINTIFFS’ MOTION TO ENJOIN
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1          C.     The Court Holds That Defendants’ Arbitration Delegation Clause is
2                 Unconscionable And Non-Severable.

3          Ultimately, the Court denied Defendants’ motion to compel arbitration because

4    the delegation clause of Defendants’ arbitration clause was unconscionable. Critically,

5    the Court declined to sever the unconscionable elements, which were there “by design”

6    and whose effects “were ‘entirely foreseeable and intended.’” Id. at 29 (quoting

7    MacClelland v. Cellco P’ship, 609 F. Supp. 3d 1024, 1046 (N.D. Cal. 2022)). The

8    broader problem with severance was an incentives problem. If severance were readily

9    available, Defendants would predictably impose “unenforceable provisions designed to

10   chill customers’ vindication of their rights, then simply propose to sever these provisions

11   in the rare event that they are challenged successfully in court.” Id. (internal quotation

12   omitted).

13         Defendants have not yet filed a notice of appeal but have indicated they plan to

14   do so. Aug. 10 Hr’g Tr. at 24. When they do, they will presumably ask this Court to stay

15   litigation of the merits in this action under Coinbase, Inc. v. Bielski, 143 S. Ct. 1915,

16   1919 (2023). If Defendants have free rein to update their Terms as to the claims asserted

17   in this lawsuit, there is a high risk they will attempt to impose another arbitration clause

18   applicable to these accrued claims during the year-or-more the appeal is pending. Then,

19   when the case is remanded, they will have every incentive to file a renewed motion to

20   compel arbitration under the new Terms. If the Court denies that motion, they can appeal

21   again, and receive a stay again. Unless the Court at some point enjoins Defendants from

22   imposing a new arbitration clause, nothing would stop them from creating an infinite

23   loop—antitrust litigation that never progresses or resolves. This, of course, would be

24   highly beneficial for Defendants, but it would effectively deprive this Court of

25   jurisdiction over claims it ruled must proceed here. Furthermore, this tactic would leave

26   Plaintiffs with a Hobson’s choice: either face endless appeals of rulings on Defendant’s

27   unconscionability, or submit to an unconscionable process. The Court should rule out

28   any such tactics now, as the resulting harm to Plaintiffs would be irreversible.


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1                                          ARGUMENT
2          So long as Defendants reserve for themselves the right to attempt such tactics, the
3    Court should protect its jurisdiction over this case by issuing a narrow injunction
4    preventing Defendants from requiring arbitration of these antitrust claims in any future
5    arbitration clause they include in their Terms. To be clear, Plaintiffs do not seek an order
6    barring Defendants from making any changes to their Terms. Rather, Plaintiffs seek
7    only a narrow, targeted injunction requiring that any new arbitration clause Defendants
8    impose must carve out the antitrust claims held by putative class members in this case.
9     I.   The Court Should Enjoin Defendants From Re-imposing An Arbitration
10         Clause Covering These Claims
           The standard for a preliminary injunction is familiar. A plaintiff can show: “[1]
11
     that he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm
12
     in the absence of preliminary relief, [3] that the balance of equities tips in his favor, and
13
     [4] that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc.,
14
     555 U.S. 7, 20 (2008). Alternatively, “‘serious questions going to the merits’ and a
15
     balance of hardships that tips sharply towards the plaintiff can support issuance of a
16
     preliminary injunction, so long as the plaintiff also shows that there is a likelihood of
17
     irreparable injury and that the injunction is in the public interest.” City & Cnty. of San
18
     Francisco v. United States Citizenship & Immigr. Servs., 944 F.3d 773, 788–89 (9th Cir.
19
     2019) (quoting All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir.
20
     2011)).
21
           A.     Plaintiffs Are Likely To Succeed On The Merits
22
           For All Writs Act preliminary injunctions, the “merits” question is whether the
23
     injunction is likely to be “necessary or appropriate in aid of [the court’s] jurisdiction.”
24
     28 U.S.C. § 1651(a); see JW Gaming Dev., LLC v. James, 544 F. Supp. 3d 903, 919–20
25
     (N.D. Cal. 2021) (“[L]ikelihood of success on the merits, for present purposes, requires
26
     showing that the Tribal Court Action undermines or interferes with the federal
27
     judgment.”). Plaintiffs meet this prong because, without an injunction, Defendants will
28


                                                  7                    PLAINTIFFS’ MOTION TO ENJOIN
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1    be able to undermine this Court’s future jurisdiction and past orders.
2                   1.   The All Writs Act Authorizes The Court To Issue Injunctions
3            The All Writs Act provides sound authority to enjoin Defendants from
4    undermining proceedings in this Court. The Act allows courts to “issue all writs
5    necessary or appropriate in aid of their respective jurisdictions and agreeable to the
6    usages and principles of law.” 28 U.S.C. § 1651(a). A “district court’s ‘powers under
7    § 1651 should be broadly construed.’” Sec. & Exch. Comm’n v. G. C. George Sec., Inc.,
8    637 F.2d 685, 688 (9th Cir. 1981) (quoting Hamilton v. Nakai, 453 F.2d 152, 157 (9th
9    Cir. 1972)).
10           Courts commonly utilize the All Writs Act to enjoin conduct by litigants that
11   attempts to move a dispute to a different forum the litigant views as more favorable than
12   their current forum. Under that rationale, “[f]ederal courts have indeed enjoined lawsuits
13   preemptively in many circumstances, for example to quiet post-settlement donnybrooks,
14   to resolve class actions and multidistrict litigation, to consolidate admiralty claims in a
15   single venue, and to sanction vexatious litigants or prevent frivolous lawsuits, among
16   other reasons.” California Chamber of Com. v. Becerra, 529 F. Supp. 3d 1099, 1115
17   (E.D. Cal. 2021), aff’d, 29 F.4th 468 (9th Cir. 2022) (citing cases). The other forum can
18   be federal court,2 state court,3 an administrative agency,4 tribal court,5 or an arbitral
19
     2
      E.g., Wood v. Santa Barbara Chamber of Com. Inc., 705 F.2d 1515, 1523 (9th Cir.
20   1983) (“A United States District Court hearing a particular case possesses the power to
21   enjoin the filing of related lawsuits in other federal courts.”).
     3
22     E.g., Flanagan v. Arnaiz, 143 F.3d 540, 546 (9th Cir. 1998) (upholding injunction
     against raising claims in state court); Carlough v. Amchem Prod., Inc., 10 F.3d 189, 204
23   (3d Cir. 1993) (“The order of the district court of May 6, 1993 enjoining the Gore
24   plaintiffs, their attorneys, agents and employees, and the class they purport to represent
     from taking any further steps in the prosecution of their claims in the Circuit Court of
25   Monongalia County, West Virginia, or from initiating similar litigation in any other
26   forum, is affirmed.”).

27
     4
      E.g., Sec. & Exch. Comm’n v. G. C. George Sec., Inc., 637 F.2d 685, 688 (9th Cir.
     1981).
28   5
         JW Gaming Dev., LLC v. James, 544 F. Supp. 3d 903, 923 (N.D. Cal. 2021).

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1    forum.6 Courts have even enjoined voluntary settlements, absent leave of the court. See,
2    e.g., In re Lease Oil Antitrust Litig. No. II, 48 F. Supp. 2d 699, 707 (S.D. Tex. 1998)
3    (prohibiting the parties before the court “from entering—collectively or separately—
4    into any settlement agreement which releases or purports to release the federal antitrust
5    claims brought in this litigation, without first notifying this Court of the settlement
6    agreement and without first obtaining the Court's approval of said agreement”).
7          The All Writs Act authorizes injunctions to protect not only final judgments, but
8    also the ability of courts to resolve the case in the future, and prevent attempts to
9    circumvent prior rulings. “Even before a federal judgment is reached … the preservation
10   of the federal court’s jurisdiction or authority over an ongoing matter may justify an
11   injunction,” which can issue even “against actions in state court.”7 In re Baldwin-United
12   Corp. (Single Premium Deferred Annuities Ins. Litig.), 770 F.2d 328, 335 (2d Cir. 1985).
13   That is because federal injunctive relief may be necessary to prevent another forum
14   “from so interfering with a federal court’s consideration or disposition of a case as to
15   seriously impair the federal court’s flexibility and authority to decide that case.” Id.
16   (quoting Atl. Coast Line R.R. Co. v. Brotherhood of Locomotive Engineers, 398 U.S.
17   281, 295 (1970)) (emphasis added); see also Burr & Forman v. Blair, 470 F.3d 1019,
18
19   6
       E.g., Morgan Stanley & Co., LLC v. Couch, 134 F. Supp. 3d 1215, 1233-34 (E.D. Cal.
20   2015), aff’d, 659 F. App’x 402 (9th Cir. 2016) (“the Court concludes it has the authority
     to enjoin arbitration proceedings where there is no valid, enforceable arbitration
21
     agreement between the parties” (citing cases)); In re Am. Exp. Fin. Advisors Sec. Litig.,
22   672 F.3d 113, 140 (2d Cir. 2011) (“[A] federal court may enjoin an arbitration that the
     court determines is not otherwise valid.”); Madrid v. Lazer Spot, Inc., No. 1:19-cv-0669,
23
     2020 WL 4274218, at *11 (E.D. Cal. July 24, 2020) (enjoining arbitration after
24   concluding the party waived it); cf. FedEx Ground Package Sys., Inc. v. Vic Jackson
     Transp., Inc., No. 12-2228, 2012 WL 2953218, at *2 (D. Kan. July 19, 2012) (enjoining
25
     arbitration under the authority of the Federal Arbitration Act).
26   7
       Notably, the Anti-Injunction Act restricts injunctions against proceedings in state
27   courts—but no other category of injunction—to situations in which an injunction is
     “necessary in aid of [the court’s] jurisdiction, or to protect or effectuate its judgments.”
28
     28 U.S.C. § 2283. The standard for this case is looser, since no state court is involved.

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1    1026 (11th Cir. 2006) (noting the All Writs Act “authorize[s] the issuance of writs to
2    protect ‘not only ongoing proceedings, but potential future proceedings, as well as
3    already-issued orders and judgments’”) (quoting Klay v. United Healthgroup, Inc., 376
4    F.3d 1092, 1099 (11th Cir. 2004)).
5          Such injunctions are “in aid of” a court’s “jurisdiction” because they “preserve
6    the court’s ability to reach or enforce its decision in a case over which it has proper
7    jurisdiction.” In re Baldwin-United Corp., 770 F.2d at 338 (emphasis added). All Writs
8    Act injunctions are proper so long as they are “directed at conduct which, left unchecked,
9    would have had the practical effect of diminishing the court’s power to bring the
10   litigation to a natural conclusion.” ITT Cmty. Dev. Corp. v. Barton, 569 F.2d 1351, 1359
11   (5th Cir. 1978).
12                2.    An All Writs Act Injunction Is Proper In This Case
13         The Court should issue the limited All Writs Act injunction Plaintiffs request here
14   for two reasons.
15         First, enjoining Defendants from again trying to impose a revamped arbitration
16   clause covering known, accrued antitrust claims is necessary to ensure this Court can
17   fully adjudicate the dispute. Without an injunction, Defendants will post new Terms with
18   a new arbitration clause covering the class claims identified in this dispute. That would
19   change the status quo in much the same way that parallel actions relitigating the same
20   issues in another tribunal would. At minimum, a new arbitration clause would require
21   the Court to waste time deciding yet more motions to compel arbitration, with no logical
22   stopping point after any orders resolving those motions are also appealed (with stays
23   pending appeal).
24         Second, the imposition of another arbitration clause would be a blatant attempt to
25   nullify this Court’s ruling denying the motion to compel arbitration. Defendants had a
26   fair opportunity to compel arbitration, but their attempt failed because it was
27   intentionally and flagrantly unconscionable. As a result, the unconscionable clauses
28   were not severable. This public policy determination is important and substantial; not an


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1    opening bid. If Defendants can simply impose different arbitration clauses seriatim
2    while the case is stayed pending appeal, that severability ruling would be all but
3    meaningless. Contrary to what this Court’s order held, Defendants still would have the
4    incentive to attempt one unconscionable clause after another, and the only penalty still
5    would be that the most egregious clauses can be shaved off when they return with another
6    alternative. The only way to protect this Court’s past, appealable ruling is to hold
7    Defendants to it: the consequence for imposing a contract permeated with
8    unconscionability is that they cannot try again to avoid litigating these accrued claims
9    in this Court.
10          Defendants may argue that such an injunction interferes with their business
11   activities, freedom of speech, or another right, but the same can be said of any All Writs
12   Act injunction. Injunctions prohibiting filing new cases or staying pending litigation are
13   surely more onerous, but such injunctions are common.8 Moreover, the injunction
14   Plaintiffs seek here is limited and targeted based on this Court’s rulings, as well as
15   Defendants’ and New Era’s prior, coordinated actions. Plaintiffs do not seek a
16   categorical bar on Defendants imposing any new arbitration agreement; they seek only
17   to require that Defendants carve out the putative antitrust class claims in this case from
18   any new Terms. Defendants have no legitimate interest in avoiding that narrow
19   restriction.
20          Defendants may argue that the Court cannot consider the rights of putative class
21   members until the case is certified, but the All Writs Act is not so limited. “The power
22   conferred by the Act extends, under appropriate circumstances, to persons who, though
23   not parties to the original action or engaged in wrongdoing, are in a position to frustrate
24   the implementation of a court order or the proper administration of justice, and
25   encompasses even those who have not taken any affirmative action to hinder justice.”
26
27   8
      E.g., Cal. Chamber of Com., 529 F. Supp. at 1115; Wood, 705 F.2d at 1523; Flanagan,
28   143 F.3d at 546; Carlough, 10 F.3d at 204; G.C. George Sec., 637 F.2d at 688; Couch,
     134 F. Supp. 3d at 1233-34; In re Am. Exp. Fin. Advisors Sec. Litig., 672 F.3d, at 140.

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1    United States v. New York Tel. Co., 434 U.S. 159, 174 (1977). Furthermore, under the
2    American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974) tolling doctrine, the
3    statute of limitations on every single putative class member’s antitrust claim is currently
4    tolled pending the Court’s decision on class certification here. Accordingly, their rights
5    are already at issue.
6          If the Court grants Plaintiffs’ requested injunction, it will apply only to the claims
7    here and will enjoin only Defendants, over whom this Court has undisputed jurisdiction.
8    That is the definition of a targeted injunction aimed at protecting the Court’s jurisdiction.
9          B.     Plaintiffs Would Suffer Irreparable Harm Without An Injunction
10         To the extent Defendants oppose this Motion, that amounts to an admission that
11   they plan to impose another arbitration clause to the accrued claims pending in this
12   litigation. That plan is all that is necessary to produce an infinite loop of new arbitration
13   clauses and appeals. “Irreparable harm is traditionally defined as harm for which there
14   is no adequate legal remedy, such as an award of damages.” Arizona Dream Act Coal.
15   v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014). No damages will be available for the
16   inability to ever litigate these claims. If Plaintiffs can never actually litigate their
17   antitrust claims, their harm can never be repaired. Plaintiffs plainly have no adequate
18   remedy at law to prevent Defendants from switching from one arbitration regime to
19   another ad infinitum. The scheme relies on the law’s delay and is unstoppable without
20   an injunction.
21         C.     The Balance Of The Equities And The Public Interest Favor An
                  Injunction
22
           The balance of the equities strongly favors Plaintiffs. All Plaintiffs ask the Court
23
     to do is enjoin Defendants from trying to game the system by again imposing
24
     unconscionable terms on Plaintiffs and members of the proposed class with regard to
25
     the claims in this case. Defendants have no legitimate interest in delaying their day of
26
     reckoning in court into the indefinite future by repeatedly abusing their market power to
27
     impose arbitration and use procedural maneuvers to forestall Plaintiffs’ claims.
28


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1          At the same time, Defendants will remain free to modify their Terms as they see
2    fit—including imposing arbitration—so long as they do not demand arbitration of the
3    accrued, pending claims in this case. To the extent Defendants claim that having to
4    litigate antitrust claims on the merits, in court, is unfair, any such argument verges on
5    frivolous. Litigating antitrust claims is something this Court already determined was
6    appropriate.
7          The public interest is wholly on Plaintiffs’ side. To begin with, this case seeks to
8    vindicate an over-decade-long scheme in which Defendants hid their violations of a
9    consent decree with the Department of Justice and caused considerable consumer harms
10   from their extensive, continuing antitrust violations. The public suffers antitrust injury
11   each day the case remains pending, and stretching that timeline out to the indefinite
12   future would eliminate any prospect of a remedy. Beyond the antitrust concerns,
13   Defendants’ strategic use of arbitration undermines all consumer protection law,
14   imposing an “inferior forum” on consumers. Arb. Order at 29. If Defendants then use
15   procedural loopholes to stave off litigation indefinitely, suffering no consequence when
16   a Court rules its actions unconscionable, that would undermine the integrity of court
17   orders and the rule of law itself.
18   II.   Issuing An Injunction Is Consistent With Staying This Case Pending Appeal
19         Defendants will likely argue that the Court cannot issue an injunction once they
20   file a notice of appeal and seek a stay pending resolution of that appeal, but the proposed
21   injunction is fully compatible with staying this case pending appeal. As noted, the
22   Supreme Court recently held that a district court was required to stay further litigation
23   of the merits pending appeal of an order denying a petition to compel arbitration. See
24   Coinbase, Inc. v. Bielski, 143 S. Ct. 1915, 1919 (2023). But that was because the
25   “interlocutory appeal, ‘divests the district court of its control over those aspects of the
26   case involved in the appeal.’” Id. (quoting Griggs v. Provident Consumer Discount Co.,
27   459 U.S. 56, 58 (1982)) (emphasis added). Granting an injunction would not fall afoul
28   that principle for two reasons.


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1          First, the injunction Plaintiffs request here is not an aspect of the case involved in
2    the appeal. Most importantly, the requested injunction does not modify the order under
3    appeal. Nor does it implicate the merits of the antitrust claims, which was the issue in
4    Coinbase. The Ninth Circuit has upheld even modifications to injunctions pending
5    appeal in this context so long as they “did not materially alter the status of the
6    consolidated appeal,” or, in other words, “left unchanged the core questions before the
7    appellate panel.” Nat. Res. Def. Council, Inc. v. Sw. Marine Inc., 242 F.3d 1163, 1167
8    (9th Cir. 2001). Issuing this injunction would not alter the status of the appeal at all,
9    much less materially, because all it would do is prevent Defendants from trying to
10   change the arbitration clause that underlies the Court order that will be before the Ninth
11   Circuit. Nothing the Ninth Circuit could decide on appeal would obviate the need for the
12   injunction. Indeed, that is precisely the point. Defendants’ reimposition of a different
13   arbitration clause would leave the issues this Court decided behind and render the appeal
14   all-but-nugatory.
15         Second, even if the injunction were somehow involved in the appeal, issuing it is
16   still proper because “[e]ven as to matters encompassed within the scope of the pending
17   appeal, the district court may act in aid of the court of appeals’ exercise of its
18   jurisdiction.” 16A C. Wright, A. Miller, E. Cooper, & C. Struve, Federal Practice and
19   Procedure § 3949.1, (5th ed. 2019) (cited in Coinbase, 143 S. Ct., at 1920, n.2). The
20   “actions that a district court may take in aid of the appellate court’s jurisdiction include
21   preserving the status quo pending appeal,” id., which extends beyond staying its own
22   proceedings. For example, the Ninth Circuit has upheld re-issuing an injunction during
23   appeal after it expired, see Mayweathers v. Newland, 258 F.3d 930, 936 (9th Cir. 2001),
24   as well as modifying an injunction during an appeal to make vague terms more certain,
25   see Southwest Marine Inc., 242 F.3d at 1166-67 (changing injunction terms “at the
26   surface” to mean “top 50 micrometers,” and “reasonably expeditious” to mean “within
27   18 months,” both “on the rationale that the “district court retains jurisdiction during the
28   pendency of an appeal to act to preserve the status quo”).


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1          Other circuits have upheld a district court’s jurisdiction to enjoin state-court
2    litigation after a notice of appeal was filed under its power “to preserve the status quo
3    pending the appeal” (which included a win on liability in federal court, though the
4    Second Circuit vacated that merits ruling). Kidder, Peabody & Co. v. Maxus Energy
5    Corp., 925 F.2d 556, 565 (2d Cir. 1991). And, in employment discrimination cases,
6    district courts have enjoined retaliation against employees while orders addressing
7    liability were on appeal, reasoning that the “inherent power of a federal district court to
8    prevent or remedy actions designed to or having the effect of deterring the use of the
9    courts … has been recognized and incorporated into the court’s contempt power and its
10   power under the All Writs Statute.” Equal Emp. Opportunity Comm’n v. Locs. 14 & 15,
11   Int’l Union of Operating Engineers, 438 F. Supp. 876, 880 (S.D.N.Y. 1977). That is
12   because these types of acts are a deviation from the status quo, and “the district court
13   retains jurisdiction to preserve the status quo and protect its proceedings in all germane
14   matters.” Id. Similarly here, imposing a new arbitration clause would be a deviation from
15   the status quo, and can be enjoined.
16                                       CONCLUSION
17         The Court should issue an injunction against Defendants. That injunction should
18   require that any future arbitration provision carve out the accrued antitrust claims
19   pending in this action by the named plaintiffs and putative class members.
20    Dated: August 21, 2023                          Respectfully submitted,
21                                                    Kevin Y. Teruya
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